          Case 3:13-cr-02466-MMA                         Document 58            Filed 11/05/13             PageID.138             Page 1 of 2

      "I>AO 245B (CASD) (Rev. li12) Judgment in a Criminal Case
                Sheet I



                                                 UNITED STATES DISTRICT COURT                                          13~;f'\"-5          ~'c \1·• 21
                                                                                                                                           ",(I


                               I
                               I
                                                     SOUTHERN DISTRICT OF CALIFORNIA                                   "t.if!/ .'. ,.             t...          ~   :.;, "';
                                                                                                                                                         ;!" . . . r.f-.t. f,
                     UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL 'CASE
                                           v.                                   (For Offenses Committed On or After November I, 1987)                     CEPUTY

                ALFREDO ~SCALANTE-NOLASEA (02),                                 Case Number: 13CR2466-MMA

                                                                                 Paul W. Blake
                                                                                Defendant's Attorney
     REGISTRATION N0'i40117298
     o
     THE DEFENDANT:
     18] pleaded guilty to
                              I    .
                                   I



                                       unt(s) TWO OF THE INFORMATION
      o was found guilty count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                   i
           after a plea of not uilty.
           Accordingly, the &fendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
     Title & Section                            Nature of Offense                                                                      Number(s)
8:1326(a) and (b)                         Removed Alien Found in the United States                                                     2




        The defendant is sentenced as provided in pages 2 through     _2_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o   The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  18] Count(s) One of the Information                                             is   18l   areD dismissed on the motion of the United States.
  18] Assessment: $100.00 Waived


  181 Fine waived                                     o Forfeiture pursuant to order filed                                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed b~ judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material changeJrt"th~efendant's economic circumstances.




                                                                                                                                           13CR2466-MMA
      Case 3:13-cr-02466-MMA                       Document 58      Filed 11/05/13             PageID.139              Page 2 of 2

AO 245B (CASD) (Rev. 1112) ludgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                               Judgment - Page     2     of       2
 DEFENDANT: ALFR~DO ESCALANTE-NOLASEA (02),
 CASE NUMBER: 13du466-MMA
                            I                             IMPRISONMENT
         The defendant is~hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVEDI



    D Sentence imposer pursuant to Title 8 USC Section 1326(b).
    D The court makes the following recommendations to the Bureau of Prisons:
                            I




                            I
                            I



    D The defendant i1 remanded to the custody ofthe United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
           Oat              I                     Oa.m.    Dp.m.    on _ _ _ _ _ _ _ _ _ _ __

               as notified'by the United States Marshal.

    D The defendant spall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D before __1f-__________________________________
                            I




       D as notified Py the United States Marshal.
       D as notified by the Probation or Pretrial Services Office.

                            I                                RETURN
                            I
 I have executed this jutigment as follows:
                            I
                            !



         "'f~d"" d,nVld""                                                        to

 at _ _ _ _ _ _-+-_ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL

                                                                   By
                                                                        ------------~D~E~P~UT~Y~UNI~~TED~~S~TA-=TE~S~MAR~~SHA~L~-----------




                                                                                                                        13CR2466-MMA
